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1

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10                                   UNITED STATES DISTRICT COURT
11
                                  NORTHERN DISTRICT OF CALIFORNIA
12
                                              SAN JOSE DIVISION
13
     KRISTAL NUCCI and KELLY SHAW,)                    Case No.: 19-cv-01434-LHK
14   individually and on behalf of all others )
     similarly situated and the California    )        DECLARATION OF DWIGHT STEWARD,
15   Labor & Workforce Development            )        PH.D., IN SUPPORT OF PLAINTIFFS’
     Agency, and ANA GOSWICK,                 )        OPPOSITION TO DEFENDANTS’ MOTION
16   individually and on behalf of all others )        TO DECERTIFY CLASS
     similarly situated,                      )
17                                            )        The Honorable Lucy H. Koh
                    Plaintiffs,               )        Date:       September 30, 2021
18                                            )
            v.                                )        Time:       1:30 p.m.
19                                            )        Courtroom: 8, 4th Floor, San Jose
     RITE AID CORPORATION,                    )
20   THRIFTY PAYLESS, INC. and DOES )
     1-10, inclusive,                         )
21                                            )
                    Defendants.               )
22                                            )
23

24

25

26

27

28


     Declaration of Dwight Steward, Ph.D. in Support of Opposition to Motion to Decertify Class
     Nucci, et al. v. Rite Aid Corporation                                             Case No. 19-cv-01434-LHK
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1    DECLARATION OF DWIGHT STEWARD, PH.D. IN OPPOSITION TO MOTION TO
2                                             DECERTIFY CLASS
3             I, Dwight Steward, Ph.D., declare as follows:
4                1. I am an economist and statistician. I provided an expert report for plaintiffs in this
5    action, which I will refer to herein as my “Report,” which further states my qualifications and
6    experience. As part of Defendants’ Motion to Decertify Class, my Report was attached as Exhibit
7    7 to the Declaration of Sweta Patel at ECF Dkt. 98-2.
8                2. I reviewed Defendants’ Motion to Decertify Class and provide clarification of
9    statements made by Defendants about my Report below.
10               3. Rite Aid contends in its Motion for Decertification that there is a discrepancy in my
11   Report at paragraph 13 and my deposition testimony. See, Motion to Decertify, Page 14. There is
12   no discrepancy. In my Report, at paragraph 13, I stated that “[a]ccording to Dr. Petersen’s survey
13   results, the average number of pay periods that are reduced to clothing purchases is 5.5….” In my
14   deposition, I confirmed that the statements made in paragraph 13 were based upon the survey
15   results obtained by Dr. Petersen. For example, I stated the following in regard to questions by Rite
16   Aid counsel about paragraph 13: “Again, as I said, I rely on Dr. Petersen for the numbers. Dr.
17   Petersen told me that that’s from his survey results and that’s the number that should be used in the
18   analysis for damages. The steps that he made, I don’t go into that. That’s not important to the
19   scenario.” (Depo. 33:9-14) A true and correct copy of an excerpt of my deposition with the
20   foregoing response is attached here in Exhibit 1. Thus, both my declaration and deposition
21   testimony accurately state that the number of pay periods used for clothing purchases was based
22   upon Dr. Petersen’s survey results.
23               4. Similarly, Rite Aid contends in its Motion for Decertification that Jeffrey Petersen,
24   Ph.D. “verbally communicated his ‘projected potential number’ of 5.5 pay period violations, the
25   basis for which is not in his Expert Report, to Dr. Steward’s office, leaving it to Dr. Steward to
26   decide how to use the data to calculated minimum wage damages.” See, Motion to Decertify,
27   Pages 22-23. This statement is inaccurate.
28               5. In April 2021, prior to my Report being written, Jeffrey Petersen, Ph.D., sent my

     Declaration of Dwight Steward, Ph.D. in Support of Opposition to Motion to Decertify
     Nucci, et al. v. Rite Aid Corporation                                             Case No. 19-cv-01434-LHK
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1    office a copy of his full survey results in an Excel format. In “Table 4” of the Excel, Dr. Petersen
2    set forth data from the survey related to the number of paychecks reduced by purchases made by
3    survey respondents. Dr. Petersen identifies the weighted average for one-time purchases, weighted
4    average for multiple purchases within the same pay period, and the weighted average for multiple
5    purchases in different pay periods. Below this data, Dr. Petersen then identifies the “Number of
6    Paychecks Reduced by Clothing Purchases per Class Member” as 5.5. I produced a copy of the
7    Excel provided to my office by Dr. Petersen in response to Rite Aid’s Notice of Deposition, Bate
8    Stamped Plaintiffs 001465. A copy of “Table 4” of the Excel spreadsheet provided to my office
9    by Dr. Petersen is attached here as Exhibit 2.
10               6. Along with providing this Excel spreadsheet, Dr. Petersen also confirmed in a
11   telephone conversation with my office that based upon his survey results, he calculated that
12   clothing purchases were made over an average of 5.5 pay periods.
13               7. For calculating minimum wages, I rounded down from the average of 5.5 pay
14   periods to 5 pay periods as the number of paychecks reduced by clothing purchases.
15               8. Rite Aid contends in its Motion for Decertification that the Report “provides no
16   evidence of employee wages at the time of purchases.” See, Motion to Decertify, Page 22. This
17   statement is incorrect.
18               9. In my Report, I confirm that I reviewed the time keeping data provided by Rite Aid,
19   which had wage rates listed in the data. As I state in Paragraph 12 of my Report: “The amount of
20   money earned in each pay period for each class member is obtained from the time records
21   provided by Rite Aid. The total amount in each day is calculated by multiplying the class
22   member’s base hourly wage by the number of hours worked in that day. The total amount earned
23   by the class member in a pay period is calculated by totaling the total pay earned in each day of
24   that week.” Along with my report, I provided Rite Aid with all of the underlying data and
25   calculations, which included employee wages for each pay period.
26               10. Rite Aid contends in its Motion for Decertification that “Dr. Steward makes no
27   attempt to analyze the data, what little there is, to space out the purchases for the purpose of
28   calculating minimum wages.” See, Motion to Decertify, Page 23. This statement is incorrect.

     Declaration of Dwight Steward, Ph.D. in Support of Opposition to Motion to Decertify
     Nucci, et al. v. Rite Aid Corporation                                             Case No. 19-cv-01434-LHK
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1                11. In my Report, I provided two calculations for the minimum wage violations, which
2    both include an analysis of the data for spacing out the purchases for calculating minimum wages.
3    The first calculation is based upon the assumption that class members made clothing purchases
4    during the first 5 pay periods of their employment. In my deposition, I was asked “What supports
5    that as the methodology to use in this case?” I provided the following response:
6                “Again, I believe it to be reasonable, and there is no data to tell me when
7                that occurred, so in the absence of the data the next thing to do is figure out
8                what’s reasonable. And from what I have seen in my experience as a labor
9                economist, and as a professor teaching economics, as an employee, when
10               you’re in a job that requires a uniform, you’re going to typically need to
11               get those items at the beginning of your period, of the time at least at some
12               point, because you need those clothes.
13               For example, we have some people in the data that only worked six pay
14               periods, so obviously those would occur at the beginning for that period.
15               So that’s just a reasonable assumption based on my knowledge of the labor
16               market, based on my discussions with Dr. Petersen in terms of how his
17               survey was done, based on all the information that we do have.” (Depo.
18               36:6-37:2)
19               12. A true and correct copy of an excerpt of my deposition with the foregoing response
20   is attached here in Exhibit 1.
21               13. The second calculation for minimum wage violations in my Report assumed that the
22   class member made the uniform purchases in the weeks that the class member earned the most
23   amount of money during their employment at Rite Aid. See, Report, fn. 2. Accordingly, in this
24   second calculation, I spaced out the purchases for the purpose of calculating minimum wages.
25   Taking the weeks when the class member had their highest income is the most conservative
26   analysis of the data that could be implemented when calculating minimum wage violations.
27   ///
28   ///

     Declaration of Dwight Steward, Ph.D. in Support of Opposition to Motion to Decertify
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                                                          Exhibit 1
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                                                                        Page 1

 1                        UNITED STATES DISTRICT COURT
 2                        NORTHERN DISTRICT OF CALIFORNIA
 3
 4
 5      KRISTAL NUCCI,individually)
        and on behalf of others   )
 6      similarly situated, et al.)
                                  )
 7                                )
                 Plaintiffs,      )
 8                                )
                                  )
 9               VS.              ) Case No. 5:19-cv-01434-LHK
                                  )
10                                )
        RITE AID CORPORATION      )
11      THRIFTY PAYLESS, INC., and)
        DOES 1-10, inclusive,     )
12                                )
                                  )
13               Defendants.      )
        __________________________)
14
15
16      DEPOSITION OF:
17                            DWIGHT D. STEWARD, PH.D.
18                            WEDNESDAY, JUNE 2, 2021
19                            10:45 A.M.
20
21
22
23      Job No. CS4617953
24      Reported by:   GINA M. CLOUD
25                     CSR No. 6315

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                                                                       Page 33

 1      that should be used.       I didn't ask him.
 2           Q.     So to be clear, you don't know what the
 3      basis for that 5.5 number is, correct?
 4           A.     No, I do know the basis.
 5           Q.     Do you know how he calculated it?
 6           A.     No, I know the basis.
 7           Q.     What do you mean by that when you say the
 8      basis?
 9           A.     Again, as I said, I rely on Dr. Petersen for
10      the numbers.      Dr. Petersen told me that that's from
11      his survey results and that's the number that should
12      be used in the analysis for damages.                The steps that
13      he made, I don't go into that.             That's not important
14      to the scenario.
15           Q.     So the basis, as you understand it,
16      Dr. Petersen told you that's the number to use and
17      told you it's in his survey results?
18           A.     No.   I'm going to go back to the way I
19      described it.      I had the discussion with Dr. Petersen
20      in terms of that number of what number, how many pay
21      periods are there.       Dr. Petersen described the
22      survey.     We talked about that and he said 5.5 is the
23      analysis -- is the number to use.
24                  As far as how he got to that, that's on
25      Dr. Petersen.      I don't recall the specifics of what

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                                                                       Page 36

 1      purchases at the beginning of your employment because
 2      you need the clothes.        But as I said before, I ran
 3      another scenario which is not dependent on the first
 4      five periods, but again, I think that's very
 5      reasonable.
 6           Q.     Let's keep talking about this scenario of
 7      the five, first five pay periods, for a moment.
 8      What supports that as the methodology to use in this
 9      case?
10           A.     Again, I believe it to be reasonable, and
11      there is no data to tell me when that occurred, so in
12      the absence of the data the next thing to do is
13      figure out what's reasonable.             And from what I have
14      seen in my experience as a labor economist, and as a
15      professor teaching economics, as an employee, when
16      you're in a job that requires a uniform, you're going
17      to typically need to get those items at the beginning
18      of your period, of the time at least at some point,
19      because you need those clothes.
20                  For example, we have some people in the data
21      that only worked six pay periods, so obviously those
22      would occur at the beginning for that period.                   So
23      that's just a reasonable assumption based on my
24      knowledge of the labor market, based on my
25      discussions with Dr. Petersen in terms of how his

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                                                                      Page 37

 1      survey was done, based on all the information that we
 2      do have.
 3           Q.     How much time was in each pay period?
 4           A.     I believe the pay periods are two weeks.
 5           Q.     So if I'm understanding what you're saying,
 6      you think it's the proper methodology to use the
 7      first five pay periods successively because people
 8      buy their clothing at the beginning of their
 9      employment?
10                  MR. MARCY:    Objection, mischaracterizes his
11      prior testimony.
12                  Go ahead and answer.
13                  THE WITNESS:     No, it's a whole lot more
14      than that.     I actually described quite a bit more
15      than that.
16                  Again, the first part is there is no data
17      as to when those occurred, so that's the big issue
18      so what has to happen now is to come up with
19      different ways to estimate that.               And as I've
20      described before, and you can't just take this one
21      analysis because I've done it this way, but I've
22      also done it -- and it can be done, where I look at
23      another period.
24                  So as far as one methodology over the
25      other, if the court wants to look at another one,

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                                                                       Page 143

 1                  I, GINA M. CLOUD, a certified shorthand
 2      reporter for the State of California, do hereby
 3      certify:
 4                            that prior to being examined, the
 5      witness named in the foregoing deposition, was by me
 6      duly sworn to testify the truth, the whole truth,
 7      and nothing but the truth pursuant to Section No.
 8      2093 of the Code of Civil Procedure;
 9                            That said deposition was taken before
10      me pursuant to notice, at the time and place therein
11      set forth, and was taken down by me in shorthand and
12      thereafter reduced to typewriting via computer-aided
13      transcription under my direction;
14                            I further certify that I am neither
15      counsel for, nor related to, any party to said
16      action, nor in anywise interested in the outcome
17      thereof.
18                            IN WITNESS WHEREOF, I have hereunto
19      subscribed my name this 3rd day of June,
20      2021.
21
22
23                             <%6696,Signature%>
                                       GINA M. CLOUD
24                                     CSR No. 6315
25

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                                                          Exhibit 2
                                                 Case 3:19-cv-01434-LB                                          Document 101-2                     Filed 08/03/21                         Page 13 of 13


                               Table 4: Clothing purchase frequency questions and responses.

                                                                                                               Margin of
 Question # Question (Abbreviated)                        Response                   Number       Percent         Error
                                                                                                                           Sample Size                              479
     2F     Purchase timing?                              All at Same Time                  78      16.3%                  Population                           19,940
                                                          Different Times                 399       83.3%          3.3%    Pop Adjust Factor                     98.8%
                                                          DK / REF                           2       0.4%
                                                                                     ----------   ----------
                                                          Total                           479     100.0%

     2G     Number of Purchases                           Weighted Average
                                                          of 2F & 2G                      6.6

     2H     All Purchases Two Weeks Apart?                Yes                             320       80.2%          3.9%    Sample Size                              399
                                                          No                                35       8.8%                  Population                           19,940
                                                          DK / REF                          44      11.0%                  Pop Adjust Factor                     99.0%
                                                                                     ----------   ----------
                                                          Total                           399     100.0%

Note: REF = Refused to answer question. DK = Don't know answer to question.




                                                                                                                           Average Amount of Total Purchases                                                 $286

                                                                                                                           Percent That Made Only One Purchase                                             16.7%

                                                                                                                           Percent That Made Multiple Purchases                                            83.3%
                                                                                                                           -- All Purchases Two Weeks Apart (Percent of Total)                             66.8%
                                                                                                                           -- All Purchases Not Two Weeks Apart (Percent of Total)                         16.5%       100.0%

                                                                                                                           Percent of the Class with One Pay Period Violation                              33.2%
                                                                                                                           Percent of the Class with Multiple Pay Period Violations                        66.8%

                                                                                                                           Average Purchases by Multiple Purchasers                                            7.7

                                                                                                                           Weighted Average for Number of Purchases                                            6.6

                                                                                                                           Average Amount Spent Per Purchase                                              $43.36

                                                                                                                           Estimate Number of Paychecks Reduced by Purchases
                                                                                                                           -- Weighted Average for One-Time Purchasers                                       0.167
                                                                                                                           -- Weighted Average for Multiple Purchases within Same Pay Period                 0.165
                                                                                                                           -- Weighted Average for Multiple Purchases in Diff Pay Periods                    5.160
                                                                                                                                                                                                          ----------
                                                                                                                           Number of Paychecks Reduced by Clothing Purchases per Class Member                   5.5
